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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
SERTA SIMMONS BEDDING, LLC,                            §        Case No. 23-90020 (DRJ)
et al.,                                                §
                                                       §        (Jointly Administered)
                   Debtors.1                           §
                                                       §

                           AGENDA OF MATTERS SET FOR HEARING
                          ON JUNE 6, 2023 AT 2:30 P.M. (CENTRAL TIME)

    A HEARING WILL BE CONDUCTED ON THIS MATTER ON JUNE 6, 2023 AT 2:30 P.M.
    (CENTRAL TIME) IN COURTROOM 400, 4TH FLOOR, 515 RUSK AVENUE, HOUSTON, TX
    77002.

    AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN FACILITY.
    YOU MAY ACCESS THE FACILITY AT 832-917-1510. ONCE CONNECTED, YOU WILL BE
    ASKED TO ENTER THE CONFERENCE ROOM NUMBER. JUDGE JONES’ CONFERENCE
    ROOM NUMBER IS 205691. VIDEO COMMUNICATION WILL BE BY USE OF THE
    GOTOMEETING PLATFORM. CONNECT VIA THE FREE GOTOMEETING
    APPLICATION OR CLICK THE LINK ON JUDGE JONES’ HOME PAGE. THE MEETING
    CODE IS “JUDGEJONES”. CLICK THE SETTINGS ICON IN THE UPPER RIGHT CORNER
    AND ENTER YOUR NAME UNDER THE PERSONAL INFORMATION SETTING.

    HEARING APPEARANCES MUST BE MADE ELECTRONICALLY IN ADVANCE OF BOTH
    ELECTRONIC AND IN-PERSON HEARINGS. TO MAKE YOUR APPEARANCE, CLICK
    THE “ELECTRONIC APPEARANCE” LINK ON JUDGE JONES’ HOME PAGE. SELECT
    THE CASE NAME, COMPLETE THE REQUIRED FIELDS AND CLICK “SUBMIT” TO
    COMPLETE YOUR APPEARANCE.

          Serta Simmons Bedding, LLC and its debtor affiliates in the above-captioned chapter 11

cases, as debtors and debtors in possession (collectively, the “Debtors”), hereby file this Agenda




1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Dawn Intermediate, LLC (6123); Serta Simmons Bedding, LLC (1874); Serta International
     Holdco, LLC (6101); National Bedding Company L.L.C. (0695); SSB Manufacturing Company (5743); The
     Simmons Manufacturing Co., LLC (0960); Dreamwell, Ltd. (2419); SSB Hospitality, LLC (2016); SSB Logistics,
     LLC (6691); Simmons Bedding Company, LLC (2552); Tuft & Needle, LLC (6215); Tomorrow Sleep LLC
     (0678); SSB Retail, LLC (9245); and World of Sleep Outlets, LLC (0957). The Debtors’ corporate headquarters
     and service address for these chapter 11 cases is 2451 Industry Avenue, Doraville, Georgia 30360.
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     of Matters Set for Hearing on June 6, 2023 at 2:30 p.m. (Central Time) before the Honorable

     David R. Jones.

I.      CONTESTED MATTER

     1. Motion for Relief from Stay (Docket No. 800)
        Status: This matter is going forward on a contested basis.

        Responses Filed:

                   A.      Debtors’ Objection and Reservation of Rights to Motion for Relief from
                           Stay (Docket No. 1020)

                   B.      Joinder of the Official Committee of Unsecured Creditors to Debtors’
                           Objection and Reservation of Rights to Motion for Relief from Stay
                           (Docket No. 1021)

        Related Documents:

                   C.      Witness and Exhibit List of the Official Committee of Unsecured Creditors
                           for Hearing on June 6, 2023 at 2:30 AM (CT) (Docket No. 1029)

                   D.      Debtors’ Witness and Exhibit List for Hearing on June 6, 2023 (Docket
                           No. 1030)

                   E.      Movant’s Document List for June 6, 2023 Hearing on Motion to Lift
                           Automatic Stay (Docket 800) (Docket No. 1031)




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Dated: June 5, 2023
       Houston, Texas

                                    /s/ Gabriel A. Morgan
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                                   Attorneys for Debtors
                                   and Debtors in Possession
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                                      Certificate of Service

I hereby certify that on June 5, 2023, a true and correct copy of the foregoing document was served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas, and will be served as set forth in the Affidavit of Service to be filed by the
Debtors’ claims, noticing, and solicitation agent.


                                                        /s/ Gabriel A. Morgan
                                                       Gabriel A. Morgan
